             Case 22-10602-JKS   Doc 51-3    Filed 07/13/22   Page 1 of 3




                                    EXHIBIT B

                                 Quickel Declaration




13699815/1
                   Case 22-10602-JKS            Doc 51-3        Filed 07/13/22        Page 2 of 3




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11
AGWAY FARM & HOME SUPPLY, LLC,1                             Case No. 22-10602 (JKS)
                           Debtor.


     DECLARATION OF JAY QUICKEL IN SUPPORT OF DEBTOR’S APPLICATION
          FOR ENTRY OF AN ORDER AUTHORIZING AND APPROVING
        THE EMPLOYMENT OF MORRIS JAMES LLP AS COUNSEL TO THE
                  DEBTOR NUNC PRO TUNC TO JULY 5, 2022

           I, Jay Quickel, being duly sworn, declare pursuant to 28 U.S.C. § 1746, under penalty of

perjury that deposes and says:

           1.       I am the President and Chief Executive Officer (“CEO”) of Agway Farm & Home

Supply, LLC (“Debtor” or the “Company”) that has filed a voluntary petition (the “Chapter 11

Petition”) under Chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),

commencing this Chapter 11 case (the “Chapter 11 Case”).

           2.       I have reviewed and am familiar with contents of the Application to Authorize and

Approve the Employment of Morris James LLP as Counsel to the Debtor nunc pro tunc to July 5,

2022 (the “Application”).2 In support of the Application, the Debtor relies upon the Waxman

Declaration, which is attached to the Application as Exhibit C.

           3.       The Debtor selected Morris James LLP (the “Firm” or “Morris James”) because

the Firm’s general legal experience and knowledge, and, in particular, its substantial experience

representing debtors and recognized expertise in the field of business reorganization under

chapter 11 of the Bankruptcy Code. I understand that the Firm’s expertise includes representing


1
 The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230.
2
    Capitalized terms used and not otherwise defined herein have the meanings ascribed to them in the Application.



13699815/1
                 Case 22-10602-JKS          Doc 51-3    Filed 07/13/22    Page 3 of 3




debtors in mid-market to large and complex bankruptcy cases. The Firm has worked closely

with the Debtor and other parties-in-interest to become familiar with the Debtor’s business and

many of the potential legal issues that may arise in the context of this Chapter 11 Case. For these

reasons, the Debtor believes that the Firm is well-qualified and uniquely able to represent the

Debtor in this Chapter 11 Case in an efficient and timely manner.

         4.       The Debtor reviewed the Firm’s standard rates for bankruptcy services, as set

forth in the Application.          Based upon representations made to the Debtor by the Firm, I

understand that those rates are generally consistent with the Firm’s rates for comparable non-

bankruptcy engagements and the billing rates and terms of other comparably skilled firms for

providing similar services. Based on these representations and the Firm’s experience in both the

bankruptcy field and in other fields in which the Debtor operates, the Debtor believes these rates

are reasonable.

         5.       The facts set forth in this Declaration are based upon my personal knowledge, my

review of the relevant documents, information provided to me or verified by the Debtor’s

counsel, and my personal opinions based upon my experience, knowledge, and information

provided to me. I am authorized to submit this Declaration on behalf of the Debtor, and if called

upon to testify, I would testify competently to the facts set forth herein.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States, that the foregoing statements are true and correct.

                                                    Respectfully submitted,

Dated: July 13, 2022                             Agway Farm & Home Supply, LLC

                                                 /s/ ____________________________
                                                 Jay Quickel
                                                 President and Chief Executive Officer



                                                    2
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